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                               UNITED STATES DISTRICT COURT                     TT{OMASGBRUTON
                                                                             CTERK U.S. DISTRICT COURT
                               NORTIIERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

    UNITED STATES OF AMERICA

                 v.
                                                       N.    lgcR 220
                                                       Violations: fitle 18, United States
    IIAIPING    aka'Trancisco," aka
                 PAI\T,                                Code, Sections 1956(a), 1956(h),
        "MYONLYSTAR," and                              and 1960
    HUAIUilN LONG, aka "Little Long,"
        aka "MATEO K'                                      I.]NDER SEAL
                                                           JUDGE FEINERMAN
                                           CoI]I{T   oNE    MAGISTRATE JUDGE ROWLAND

          The SPECIAL DECEMBER 20L7 GRAND JURY charges:

           1. At times material to this indictment:

                      a.    IIAIPING PAN and HUANXIN LONG were Chinese nationals

    residing in Mexico

                      b.    Antonio Cuellar Esparza was a Mexican national residing in

    Mexico.

          2.          Beginning no later than in or about May 20L7, and continuing until at

    least in or about July 2018, at Chicago, in the Northern District of Illinois, Eastern

    Division, and elsewhere,

                       IIAIPING PAN, aka "Francisco," aka "MYONLYSTAR," and
                       HUANXIN LONG, aka "Little Long," and "MATEO K,"

    defendants herein, did knowingly conspire with each other, with Antonio Cuellar

    Esparza, and with other persons known and unknown to the Grand Jury, to commit

    offenses in violation of Title L8, United States Code, Section 1956, namely:
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              to knowingly conduct a financial transaction affecting interstate and

foreign commerce, which transaction involved the proceeds of specified unlawful

activity, namely, felony violations of fitle 21, United States Code, Sections 84L,846,

952,959,960, and 963 involving buyrng, selling, importing, and otherwise dealing in

a controlled substance, knowing that the transaction was designed in whole and in

part to conceal and disguise the nature, location, source, ownership, and control of

the proceeds of said specified unlawful activity, and that while conducting and

attempting to conduct such financial transaction knew that the property involved in

the financial transaction represented the proceeds of some form of unlawful activity,

in violation of Title 18, United States Code, Section 1956(a)(1)(BXi);

      b.     to transport, transmit, and transfer a monetar5r instrument and funds

involving the proceeds of specified unlawful activity, namely, felony violations of Title

21, United States Code, Sections 841, 846,952,959,960, and 963 involving buying,

selling, importing, ,rrd otherwise dealing in a controlled substance, from a place in

the United States to or through a place outside the United States, knowing that the

monetar5r instrument and funds involved      in the transportation, transmission,     and

transfer represented the proceeds of some form of unlawful activity and knowing that

such transportation, transmission, and transfer was designed in whole or in part to

conceal and disguise thelsature, location, source, ownership, and control of the

proceeds of specified unlawful activity, in violation of   Title 18, United States   Code,

Section 1956(a)(2)(BXi).
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       3.       It was part   of the conspiracy that PAI.[ contracted with Mexico-based

drog traffickin g, organizatrons (DTOs) and their associates, including Antonio Cuellar

Esparza, to receive bulk quantities of cash narcotics proceeds     in the United States

and elsewhepe, launder the funds, and deliver the laundered funds to his DTO clients

in Mexico.

      4.        It was further part of the conspiracy that PAN, LONG, and others,
including Cuellar Esparza, coordinated money "pickups" in Chicago, New York, and

elsewhere, at which bulk quantities of cash narcotics proceeds were delivered by U.S.-

based drug traffickers to operatives who worked for PAN and LONG.

      5.        It   was further part of the conspiracy that LONG and others delivered,

and caused to be delivered, the cash narcotics proceeds to individuals and businesses

in the United States that assisted in laundering the funds, including by receiving the

cash narcotics proceeds, which were       in U.S. dollars, and identifiring the mgnetary

equivalent of the cash narcotics proceeds in Chinese Yuan located in commercial bank

accounts   in China (the "Initial Chinese Accounts").

      6.        It was further part   of the conspiracy that LONG, and others wired and

facilitated the wiring of Yuan from the Initial Chinese Accounts to a second.set of

Chinese bank accounts controlled by PAN, Gan, LONG and others (the "secondar5r

Chinese Accounts").

      7.        It was further part of the conspiracy that PAN, LONG, and others
engaged    in   and facilitated additional transactions to convert the Yuan      in the
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Secondary Chinese Accounts back to U.S. dollars or Mexican Pesos, and transmitted,

and caused to be transmitted; the funds to Mexico

      8.     It   was further part of the conspiracy that PAN, LONG, and others

received the laundered proceeds, and caused the laundered proceeds to be received,

in Mexico and delivered, and caused to be delivered, the laundered proceeds to PAN's

DTO clients, including Cuellar Esparza;

      All in violation of Title 18, United States Code, Section 1956(h).
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                                    COIJIVT TWO

      The SPECIAL DECEMBER 2OL7 GRAND JURY turther charges:

      Beginning no later than in or about May 20L7, and continuing until at least in

or about July 2018, at Chicago, in the Northern District of Illinois, Eastern Division,

and elsewhere,

               IIAIPING PAN, aka "Francisco," aka "MYONLYSTAR," and
               HUANXIN LONG, aka "Little Long," and "MATEO K,"

defendants herein, did knowingly conduct, control, manage, superwise, direct, and

own all or part of an unlicensed money transmitting business affecting interstate and

foreign commerce, which was operated without a license from the State of Illinois,

such operation constituting a felony under Illinois State law, 2O5Ill. Comp. Stat.

657/e0(h)

      In violation of Title 18, United States Code, Sections 1960 and 2.




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                                  COT]NT THREE

      The SPECIAL DECEMBER 20L7 GRAND JURY turther charges:

      On or about .July 2,2018, at Chicago, in the Northern District of Illinois, and

elsewhere,

               IIAIPING PAII, aka "Francisco," aka "MYONLYSTAR," and
                HUANXIN LONG, aka "Little T,orrg," and "MATEO K,"

defendants herein, did knowingly conduct a financial transaction affecting interstate

and foreign commerce, namely, the receipt of approximately $Z5g,7gO in United

States currency, which involved the proceeds of a specified unlawful activity, namely,

the felonious buying and selling and otherwise dealing in a controlled substance,

knowing that the transaction was designed in whole and in part to conceal and

disguise the nature, Iocation, source, ownership, and control of the proceeds of said

specified unlawful activity, and that while conducting and attempting to conduct such

financial transaction, knew that the property involved in the financial transaction

represented the proceeds of some form of unlawful activity;

      In violation of Title 18, United States Code, Sections 1956(aX1)(B)(i) an:d2.
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                                   COI.]I\XT   FOI]R

      The SPECIAL DECEMBER 2Ot7 GRAND JURY further charges:

      On or about July 5, 20t8, at Chicago, in the Northern District of Illinois, and

elsewhere,

             IIAIPING PAN, aka "Francisco," aka "IVfYONLYSTAR," and
                  HUANXIN LONG, aka "Little Long," and "MATEO K,"

defendants herein, did knowingly conduct a financial transaction affecting interstate

and foreign commerce, namely, the receipt of approximately $Z54,SAO in United

States currency, which involved the proceeds of a specifi.ed unlawfirl activity, namely,

the felonious buying and selling and otherwise dealing in a controlled substance,

knowing that the transaction was designed in whole and in part to conceal and

disguise the nature, location, source, ownership, and control of the proceeds of said

unlawful activity, and thatwhile conducting and attempting to conduct such financial

transaction, knew that the property involved in the fi.nancial transaction represented

the proceeds of some form of unlawful activity;

      In violation of Title 18, United States Code, Sections 1956(aX1)(B)(i) and?.
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                               FORFEITI,]RE ALLEGATION

      The SPECIAL DECEMBER 2017 GRAND JURY further alleges:

       1.    Upon conviction of an offense in violation of Title 18 United States Code,

Sections 1956 and 1960, as set forth in this Indictment, defendants shall forfeit to the

United States of America any property involved in such offense, and any property

traceable to such property, as. provided      in Title 18, United States Code,       Section

982(aX1).

      2.     The property to be forfeited includes, but is not limited to:

                      a personal money judgment in the amount of approximately
                      $2,000,000 as to H,AIPING PAN.

             a.       A personal money judgment in the amount of approximately
                      $2,000,000 as to HUANXIN LONG.

      3.     If any of the property described above, as a result of any act or omission

by a defendant: cannot be located upon the exercise of due diligence; has been
transfemed or sold to, or deposited with, a third party; has been placed beyond the

jurisdiction of the Court; has been substantially diminished in value; or has been

commingled   with other property which cannot be divided without difficulty, the
United States of America shall be entitled to forfeiture of substitute property,          as

provided by Title   21",   United States Code Section 453(p) and   fitle   18, United States

Code, Section 982(bX2).
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                                          A TRUE BILL:




                                          FOREPERSON


UNITED STATES ATTORNEY
